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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

 CAROLYN PERLIN, individually and        Case No. 16-cv-10635
 on behalf of the settlement class,
                                         Hon. George Caram Steeh
                   Plaintiff,

       v.

 TIME INC., a Delaware Corporation,

                   Defendant.


        PLAINTIFF’S MOTION FOR AND BRIEF IN SUPPORT OF
         FINAL APPROVAL OF CLASS ACTION SETTLEMENT

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                     PLAINTIFF’S MOTION FOR
           FINAL APPROVAL OF CLASS ACTION SETTLEMENT

      Plaintiff Carolyn Perlin respectfully moves the Court to grant her Motion for

Final Approval of Class Action Settlement. Specifically, Plaintiff requests that the

Court find that (i) the notice to the Settlement Class satisfies the requirements of

Due Process and Federal Rule of Civil Procedure 23, and (ii) the Settlement is fair,

reasonable, and adequate meriting final approval. In accordance with Local Rule

7.1(a), counsel for Defendant will not oppose the relief sought by this motion. (See

Parties’ Class Action Settlement Agreement, ¶¶ 7.1-7.3, 10.1.).)1

      For the reasons discussed in the accompanying brief, the Motion should be

granted.




1
       A copy of the Parties’ Class Action Settlement Agreement (“Settlement” or
“Agreement”) is attached hereto as Exhibit 1. Except as otherwise indicated, all
defined terms used herein shall have the same meanings ascribed to them in the
Parties’ proposed Settlement Agreement.


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            PLAINTIFF’S BRIEF IN SUPPORT OF MOTION FOR
           FINAL APPROVAL OF CLASS ACTION SETTLEMENT

                   STATEMENT OF ISSUES PRESENTED

      1.     Whether this Court should find that notice to the Settlement Class

satisfies the requirements of Due Process and Federal Rule of Civil Procedure 23,

when direct notice, detailing the terms of the Settlement Agreement and individual

options for objecting, opting-out, or submitting a claim, was transmitted via email

and postcard and reached 97% of the Settlement Class?

Plaintiff’s Answer: Yes.

      2.     Whether this Court should grant final approval to the Settlement

Agreement under Michigan’s Preservation of Personal Privacy Act—which is

popularly referred to as the Video Rental Privacy Act, M.C.L. § 445.1711-15

(“VRPA”)—finding it fair, reasonable, and adequate, when it delivers meaningful

prospective and monetary relief to the Settlement Class?

Plaintiff’s Answer: Yes.




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UNITED STATES COURT OF APPEALS CASES:

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     636 F.3d 235 (6th Cir. 2011)

UAW v. Gen. Motors Corp.,
    497 F.3d 615 (6th Cir. 2007)

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      720 F.2d 909 (6th Cir. 1983)

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Halaburda v. Bauer Publ’g Co.,
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In re Cardizem CD Antitrust Litig.,
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UAW v. Gen. Motors Corp.,
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 I.    INTRODUCTION

       On July 5, 2018, this Court preliminarily approved the class action

 settlement between Plaintiff Carolyn Perlin (“Plaintiff”) and Defendant Time Inc.

 (“Defendant” or “Time”) (together, the “Parties”) and directed that notice be sent

 to the Settlement Class. (Dkt. 51.) The Settlement Administrator has implemented

 the Court-approved notice plan, and direct notice has reached approximately 97%

 of the Settlement Class. The reaction to the Settlement has been overwhelmingly

 positive: of the approximately 601,2272 members of the Settlement Class, not a

 single one objected to the Settlement, only six (or 0.001%) have requested to be

 excluded, and more than 70,000 have already submitted claims for payment. Given

 the complete lack of opposition to the Settlement’s terms and the overwhelmingly

 positive response from the Settlement Class, the Court should have no hesitation in

 granting final approval to the Settlement.

       The Settlement’s strength largely speaks for itself: it creates a $7.4 million

 non-reversionary common fund from which Settlement Class Members’ claims,

 notice and administrative expenses, Court-awarded attorneys’ fees, and an

 2
        In Plaintiff’s Motion for Preliminary Approval, the number of class
 members was estimated as “approximately 719,000 Michigan residents.” (Dkt. 49.)
 As noted in Plaintiff’s Motion for Attorneys’ Fees, Expenses, and Incentive Award
 (dkt. 53), Defendant provided KCC, the Court-approved Settlement Administrator,
 with a class list, that after the duplicates were removed resulted in a list containing
 601,227 members. (Declaration of Lana Lucchesi [“Lucchesi Decl.”] ¶¶ 7–8,
 attached as Exhibit 3.)


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 incentive award to the Class Representative will be paid. In terms of individual

 relief, each Settlement Class Member that submits a short and simple Claim Form

 (either online or in hard-copy), will receive an estimated cash payment of $50.

 And, just as important, the Settlement delivers strong prospective relief by

 requiring Defendant to stop disclosing its Michigan customers’ personal reading

 information to third party companies for a period of two years. Put simply, the

 Settlement achieves the paramount goals of this lawsuit: providing monetary relief

 to the class for their VRPA claims and stopping the unauthorized disclosure of

 their magazine preferences.

       Ultimately, while the strength of the Settlement should be apparent on its

 face, the Court need not evaluate the Settlement in a vacuum. Indeed, a review of

 previous VRPA settlements in this District demonstrates that the Settlement

 compares favorably to those previously approved by the court. See, e.g., Coulter-

 Owens v. Rodale, No. 14-cv-12688, dkt. 54 (E.D. Mich. Sept. 29, 2016) (securing a

 $4.5 million fund for a class of approximately 580,000 subscribers with claiming

 class members receiving a pro rata payment of approximately $44); Kinder v.

 Meredith Corp., No. 13-cv-11284, dkt. 81 (E.D. Mich. May 18, 2016) (securing a

 $7.5 million fund for a class of approximately 980,000 subscribers with claiming

 class members receiving a pro rata payment of approximately $50); Halaburda v.

 Bauer Publ’g Co., No. 12-cv-12831, dkt. 68 (E.D. Mich. Jan. 6, 2015) (Steeh, J.)



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 (securing a $775,000 fund for a class of 40,000 subscribers with claiming class

 members receiving a pro rata payment of approximately $74); Moeller v. Am.

 Media, Inc., No. 5:16-cv-11367, dkt. 42 (E.D. Mich. Jun. 8, 2017) (securing a $7.6

 million fund for a class of 415,000 subscribers with claiming class members

 receiving an estimated $100).

       And when compared to approved settlements of cases alleging violations of

 similar privacy statutes with statutory damage awards—which typically offer no

 monetary relief to the class whatsoever—the fairness, reasonableness, and

 adequacy of the instant settlement becomes even more apparent. See, e.g., Lane v.

 Facebook, Inc., 696 F.3d 811, 820–22 (9th Cir. 2012) cert. denied, 134 S. Ct. 8

 (2013) (approving a settlement of federal Video Privacy Protection Act [“VPPA”]

 claims, and directing $9.5 million to cy pres as the sole form of monetary relief); In

 re Netflix Privacy Litig., No. 5:11-cv-00379, dkt. 256 (N.D. Cal. Mar. 18, 2013)

 (approving $9 million cy pres settlement of VPPA claims); In re Google Buzz

 Privacy Litig., No. 10-cv-00627, 2011 WL 7460099, at *3 (N.D. Cal. Jun. 2, 2011)

 (approving $8.5 million cy pres settlement); Fraley v. Facebook, Inc., 966 F. Supp.

 2d 939 (N.D. Cal. 2013) (approving privacy settlement providing claimants with a

 cash payment of $15).

       In the end, if the Settlement is approved, more than 70,000 claiming

 Settlement Class Members will receive immediate cash payments, Defendant will



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 stop disclosing its subscribers’ personal reading information to third parties

 without consent, and the Parties will be able to call an end to years of hard-fought

 and expensive litigation. See Coulter-Owens v. Time Inc., No. 2:12-cv-14390-

 GCS-MKM (E.D. Mich.). For these reasons, and those discussed further below,

 Plaintiff respectfully requests that the Court grant final approval to the Parties’

 proposed Class Action Settlement Agreement.

 II.   SUMMARY OF THE LITIGATION

       The litigation history, allegations, and events leading up to the Settlement

 provide context for its fairness, reasonableness, and adequacy.

       A.     Defendant Time Inc. and the Coulter-Owens Matter.

       Defendant Time Inc. is an American magazine publisher whose portfolio

 includes titles such as Cooking Light, Coastal Living, Health, Southern Living,

 Sunset, This Old House, All You, Big Picture, Essence, Edge, Entertainment

 Weekly, Fortune, Golf, InStyle, Travel & Leisure, Time, Time for Kids, People,

 People En Español, People Style, Money, Sports Illustrated, Sports Illustrated

 Kids, Real Simple, Food & Wine, and Wallpaper. (See dkt. 1, Plaintiff’s Class

 Action Complaint [“Compl.”] ¶ 1.) Between its many titles, Time has acquired

 millions of magazine subscribers throughout the country, hundreds of thousands of

 which reside in the State of Michigan.

       As the Court well knows by now, Class Counsel has prosecuted Time for



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 allegedly violating its Michigan subscribers’ privacy rights for over six years. Prior

 to the instant litigation, Class Counsel litigated a related class action against Time

 in this Court captioned Coulter-Owens v. Time Inc., Case No. 2:12-cv-14390-GCS-

 MKM (E.D. Mich.), which also alleged that Time violated the Michigan VRPA,

 but was brought by a different class representative and on behalf of a different

 class of magazine subscribers. The Coulter-Owens matter was litigated extensively

 for over four years, through class certification, summary judgment, and appeal.

 Ultimately, the Court granted, and the Sixth Circuit affirmed, Time’s motion for

 summary judgment, holding that class members who purchased their magazine

 subscriptions from third-party agents did not purchase from Time “at retail,” as

 required under the statute.

       B.     Perlin’s Allegations and the VRPA.

       Based on the Court’s summary judgment ruling, Plaintiff Carolyn Perlin—

 represented by Class Counsel—brought this follow-on class action against Time on

 behalf of Michigan consumers who purchased magazine subscriptions directly

 from Time. In her complaint, Plaintiff alleges that Time doesn’t just make money

 selling magazines and advertising space—it makes additional profit by selling its

 subscribers’ personal choices in reading material. (Compl. ¶¶ 2, 22, 24–26, 51–53,

 60.) And instead of simply selling lists of names that subscribe to certain

 magazines, Plaintiff alleges that Time offers for sale something far more valuable:



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 customers’ magazine reading choices along with additional data about their income

 levels, religion, ages, race, political affiliations, travel habits, medical conditions,

 and other sensitive, personal information. (Id. ¶¶ 2, 19, 26, 37, 60.) Time allegedly

 obtains this demographic and lifestyle data about its customers from data miners

 and other third parties by offering its subscriber lists in exchange for the

 supplemental demographic data. (Id. ¶¶ 2, 26.)

       Of course, none of this is illegal if a magazine publisher informs its

 subscribers about what it is doing and gets consent to disclose the information. See

 M.C.L. § 445.1713. The problem is, Plaintiff alleges, Time’s offline subscribers

 (i.e., those who subscribe via postcard or over the phone) never provided consent

 for Time to disclose information to third parties related to their magazine

 subscriptions. (Id. ¶¶ 3, 27, 33–38, 56.)

       On February 19, 2016, Perlin—a Michigan citizen that subscribed to

 Defendant’s People magazine—initiated this suit. (Id. ¶¶ 29–31.) Perlin alleges

 that at no time did she consent to allow Time to disclose her choice of magazine

 subscription to any third parties, but Defendant disclosed that information anyway.

 (Id. ¶¶ 32–35.) She further alleges that this conduct violates the VRPA, which

 prohibits retailers, publishers, and other entities engaged in the business of selling

 written materials at retail from disclosing records or information concerning the

 purchase of those materials by a customer that indicates the identity of the



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 customer. M.C.L. § 445.1712. The Michigan legislature rightfully recognized that

 a person’s choice in reading materials “is nobody’s business but one’s own,” and

 passed the VRPA “to explicitly protect a consumer’s privacy in buying and

 borrowing” such materials. Privacy: Sales, Rentals of Videos, etc., House

 Legislative Analysis Section, H.B. 5331, Jan. 20, 1989. Given the importance of

 reader privacy, the version of the VRPA at issue here (i.e., the version that existed

 prior to the Michigan Legislature’s 2016 amendments) provides for statutory

 damages of $5,000 per violation. (See dkt. 27 at 7–30.)

       C.     The Road to the Settlement Agreement.

       Since Perlin filed this case, Time has mounted a vigorous defense.

 Defendant’s initial attack came on May 6, 2016, when it moved to dismiss, arguing

 that Plaintiff lacked Article III standing—because, according to Time, the 2016

 amendment to the VRPA requiring actual damages applied retroactively and

 required dismissal—and failed to state a claim for unjust enrichment upon which

 relief could be granted. (Dkts. 10, 16.) Time then submitted supplemental briefing

 to the Court highlighting the Supreme Court’s then-recent decision on Article III

 standing in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016). (Dkt. 13.) When filed,

 the questions of whether the amendments to the VRPA applied retroactively to

 Plaintiff’s claims and whether Spokeo stripped Plaintiff of Article III standing were

 complex issues of first impression, which Plaintiff opposed with equal vigor in a



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 lengthy response. (Dkt. 14.) Plaintiff argued that the VRPA amendments only

 apply prospectively to claims that, unlike Perlin’s, accrued after its effective date,

 and that Defendant misunderstood Spokeo, which instead confirmed that Perlin has

 Article III standing because Time’s undisputed disclosure of her personal reading

 choices was an invasion of her substantive privacy interests. (Id.) Ultimately, on

 February 15, 2017, the Court denied Time’s motion to dismiss in its entirety. (Dkt.

 27.)

        Time thereafter answered Plaintiff’s Complaint on March 1, 2017, by

 denying the allegations and raising 17 affirmative defenses, including that Time

 does not sell magazines “at retail” even through its direct sales and that the

 statutory damages sought violate Time’s Due Process rights. (Dkt. 29.) The Parties

 then exchanged initial disclosures and issued written discovery on each other, and

 Perlin served subpoenas on eight third parties including Acxiom Corporation and

 Wiland Direct, two entities to which she believed, based on Class Counsel’s

 previous work in Coulter-Owens, Time disclosed subscriber information. (See

 Declaration of Ari J. Scharg in Support of Plaintiff’s Motion for Final Approval of

 Class Action Settlement [“Scharg Decl.”], attached hereto as Exhibit 2, ¶ 5.)

        Over the next five months, the Parties engaged in substantial class- and

 merits-related discovery, which included the production and review of thousands

 of documents, numerous meet-and-confer conferences, and the scheduling of



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 depositions for both Perlin and a corporate representative from Time. (Id. ¶ 6.)

 Before taking the scheduled depositions, however, the Parties engaged in

 settlement discussions in an effort to resolve the case without the expense of

 further litigation, which would necessarily include adversarial class certification

 and summary judgment briefing as in the Coulter-Owens matter. (Id. ¶ 7.) After

 multiple rounds of arm’s-length negotiations between counsel experienced in

 valuing and negotiating VRPA class settlements, the Parties ultimately reached an

 agreement on the principal terms of the Settlement. (Id. ¶ 8.) The Parties then

 diligently prepared and executed a written Settlement Agreement. (Id.) The Court

 granted preliminary approval to that Settlement on July 5, 2018. (Dkt. 51.)

 III.   TERMS OF THE SETTLEMENT AGREEMENT

        The terms of the Settlement Agreement are briefly summarized as follows:

        A.    Class Definition

        As part of preliminary approval, the Court certified a Settlement Class,

 defined as “[a]ll persons with Michigan street addresses who purchased a

 subscription to a Time Publication directly from Time, but in a manner other than

 through a Time website, between February 19, 2013 and February 19, 2016.”3


 3
        Excluded from the Settlement Class are (1) any Judge or Magistrate
 presiding over this Action and members of their families; (2) Defendant,
 Defendant’s subsidiaries, parent companies, successors, predecessors, and any
 entity in which Defendant or its parents have a controlling interest and their current
 or former officers, directors, agents, attorneys, and employees; (3) persons who

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 (Dkt. 51; Agreement ¶ 1.30.)

       B.      Monetary Relief

       Defendant has established a $7.4 million non-reversionary Settlement Fund,

 from which each Settlement Class Member who submits a valid claim shall be

 entitled to a pro rata share, after payment of notice and administrative expenses,

 attorneys’ fees, and any incentive award to the Class Representative. (Agreement

 ¶¶ 1.32, 2.1.) Individual payments are estimated to be approximately $50. (Scharg

 Decl. ¶ 9.)

       C.      Prospective Relief

       For a period of two years from the Effective Date, and in accordance with

 the Settlement Agreement, Defendant will not disclose any Michigan customers’

 subscription information to third-party companies without their prior express

 written consent. (Agreement ¶ 2.2.)

       D.      Payment of Notice and Settlement Administration Expenses

       Defendant has paid, and will continue to pay, all notice and Settlement

 Administration Expenses out of the Settlement Fund. (Id. ¶¶ 1.28, 1.32.)




 properly execute and file a timely request for exclusion from the Settlement Class;
 (4) Online Purchasers; and (5) the legal representatives, successors or assigns of
 any such excluded persons. (Agreement ¶ 1.30.)


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       E.     Payment of Incentive Award, Attorneys’ Fees, and Expenses

       Defendant has agreed to pay an incentive award from the Settlement Fund to

 Plaintiff Perlin the amount of $5,000 to compensate her for her service as Class

 Representative, as well as reasonable attorneys’ fees not to exceed 40% of the

 Settlement Fund. (Id. ¶¶ 1.32, 8.1, 8.3.) Both awards are subject to the Court’s

 approval, which Plaintiff has petitioned for separately. (See dkt. 53.)

       F.     Release

       In exchange for the relief described above, Defendant and each of its related

 and affiliated entities will receive a full release of all claims arising out of or

 related to Defendant’s disclosure of its Michigan customers’ magazine subscription

 information. (See Agreement ¶¶ 1.25–1.27 for full release language.)

 IV.   THE NOTICE PLAN COMPORTS WITH DUE PROCESS.

       Before final approval can be granted, Due Process and Rule 23 require that

 the notice provided to the Settlement Class is “the best notice that is practicable

 under the circumstances, including individual notice to all members who can be

 identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B); Eisen v. Carlisle

 & Jacquelin, 417 U.S. 156, 173 (1974). Notice “need only be reasonably

 calculated . . . to apprise interested parties of the pendency of the settlement

 proposed and to afford them an opportunity to present their objections.” UAW v.

 Gen. Motors Corp., 2006 WL 891151, at *32-33 (E.D. Mich. Mar. 31, 2006)



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 (citation omitted). Notice must clearly state essential information regarding the

 settlement, including the nature of the action, terms of the settlement, and class

 members’ options. See Fed. R. Civ. P. 23(c)(2)(B); Dick v. Sprint Commc’ns Co.

 L.P., 297 F.R.D. 283, 292 (W.D. Ky. 2014). At its core, “[a]ll that the notice must

 do is fairly apprise the prospective members of the class of the terms of the

 proposed settlement so that class members may come to their own conclusions

 about whether the settlement serves their interest.” UAW v. Gen. Motors Corp.,

 497 F.3d 615, 630 (6th Cir. 2007) (citation omitted).

       That said, Due Process does not require that every class member receive

 notice, and a notice plan is reasonable if it reaches at least 70% of the class. Fidel

 v. Farley, 534 F.3d 508, 514 (6th Cir. 2008); Fed. Judicial Ctr., Judges’ Class

 Action Notice and Claims Process Checklist and Plain Language Guide 3 (2010);

 see also In re Countrywide Fin. Corp. Customer Data Sec. Breach Litig., 2009 WL

 5184352, at *12 (W.D. Ky. Dec. 22, 2009) (finding notice plan to be “the best

 notice practicable” where combination of mail and publications notice reached

 81.8% of the class); Gascho v. Glob. Fitness Holdings, LLC, 822 F.3d 269, 289

 (6th Cir. 2016) (finding that notice and claims processes were appropriate where

 90.8% of notices were successfully delivered to addresses associated with class

 members). The notice plan here goes well above these standards, as it provided

 direct notice via a postcard or email to 97% of the Settlement Class.



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        At preliminary approval, the Court approved the Parties’ proposed Notice

 Plan, finding it met the requirements of Rule 23 and Due Process. (Dkt. 51 at 5–6.)

 That plan has now been fully carried out by professional settlement administrator

 Kurtzman Carson Consultants, LLC (“KCC”). Pursuant to the Settlement,

 Defendant provided KCC with a list of 602,538 available names, addresses and

 emails of potential members of the Settlement Class. (Lucchesi Decl. ¶ 7.) After

 KCC removed duplicates, the Class List contained 601,227 potential members. (Id.

 ¶ 8.) KCC successfully delivered the Court-approved notice via email to 255,006

 class members and via postcard to another 328,342 class members. (Id. ¶¶ 10–12.)

 Accordingly, 97% of the Settlement Class was provided with direct notice of the

 Settlement. (Agreement ¶¶ 4.1(b)-(c)); (Lucchesi Decl. ¶¶ 8–12.)4 These summary

 notices also directed members of the Settlement Class to the Settlement Website,

 where they were able to submit claims online; access important court filings,

 including the Motion for Attorneys’ Fees; and see deadlines and answers to

 frequently asked questions. (Agreement ¶ 4.1(d)); (Lucchesi Decl. ¶ 14.)

       Given the broad reach of the notice, and the comprehensive information

 provided, the requirements of Due Process and Rule 23 are met.




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       KCC also notified the appropriate state and federal officials pursuant to the
 Class Action Fairness Act, 28 U.S.C. § 1715. (Lucchesi Decl. ¶¶ 3–6.)


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 V.    THE SETTLEMENT WARRANTS FINAL APPROVAL.

       The Federal Rules of Civil Procedure require judicial approval of class

 action settlements. Fed. R. Civ. P. 23(e); Halliday v. Weltman, Weinber & Reis

 Co., L.P.A., 2013 WL 692856, at *1 (E.D. Mich. Feb. 26, 2013). At final approval,

 the ultimate issue is whether the settlement is fair, reasonable, and adequate. Fed.

 R. Civ. P. 23(e)(2); Williams v. Vukovich, 720 F.2d 909, 921 (6th Cir. 1983).

 Courts within the Sixth Circuit recognize a strong “federal policy favoring

 settlement of class actions.” UAW, 497 F.3d at 632 (citation omitted); see

 Leonhardt v. ArvinMeritor, Inc., 581 F. Supp. 2d 818, 830 (E.D. Mich. 2008).

       To evaluate the fairness, reasonableness, and adequacy of a settlement

 agreement at final approval, courts look to seven factors: (1) the likelihood of

 success on the merits; (2) the public interest; (3) the complexity, expense, and

 duration of future litigation; (4) the opinions of class counsel; (5) the amount of

 discovery completed; (6) the reaction of absent class members; and (7) the risk of

 fraud or collusion (the “UAW factors”). UAW, 497 F.3d at 631 (citing Granada

 Invs., Inc. v. DWG Corp., 962 F.2d 1203, 1205 (6th Cir. 1992)); Williams, 720

 F.2d at 922-23). The court need only analyze the factors that are relevant to the

 settlement agreement and may weigh “particular factors according to the demands

 of the case.” Leonhardt, 581 F. Supp. 2d at 832 (citations and internal quotations

 omitted). Although the factors may be assessed individually, the inquiry into any



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 one factor often overlaps with other factors. Gentrup v. Renovo Servs., LLC, 2011

 WL 2532922, at *3 (S.D. Ohio June 24, 2011).

       As described below, each factor affirms the fairness, reasonableness, and

 adequacy of the Settlement, and supports final approval.

       A.     Plaintiff’s Likelihood of Success on the Merits, Balanced Against
              the Benefits of Settlement, Weighs in Favor of Final Approval.

       The first and most important UAW factor requires weighing the plaintiff’s

 likelihood of success on the merits against the immediate benefits of settlement.

 Poplar Creek Dev. Co. v. Chesapeake Appalachia, LLC, 636 F.3d 235, 245 (6th

 Cir. 2011); In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 522-23 (E.D.

 Mich. 2003). “Although this inquiry understandably does not require [the court] to

 decide the merits of the case or resolve unsettled legal questions,” the fairness of a

 proposed settlement cannot be judged “without weighing the plaintiff’s likelihood

 of success on the merits against the amount and form of the relief offered in the

 settlement.” UAW, 497 F.3d at 631 (citation omitted). Ultimately, the question is

 whether the class’s interests “are better served if the litigation is resolved by the

 settlement.” Leonhardt, 581 F. Supp. 2d at 836 (“[A]bsent settlement, all class

 members would be subject to the uncertainty, risk, hardship and delay attendant to

 continued litigation which ultimately might leave them with absolutely nothing.”)

 (citation omitted); see also Lasalle Town Houses Coop. Ass’n v. City of Detroit,

 2016 WL 1223354, at *6 (E.D. Mich. Mar. 29, 2016) (granting final approval

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 where “class members would bear the risk of continued litigation with the potential

 for an adverse result.”). The likelihood that Plaintiff will succeed on the merits thus

 serves as a “gauge” against which the benefits of the settlement are measured.

 Poplar Creek, 636 F.3d at 245 (citing In re Gen. Tire & Rubber Co. Sec. Litig.,

 726 F.2d 1075 (6th Cir. 1984)).

       Here, Perlin believed that her chances of succeeding in certifying an

 adversarial class and prevailing on summary judgment or at trial were strong, but

 they were also far from certain. (Scharg Decl. ¶ 10.) Plaintiff had defeated

 Defendant’s main case-dispositive argument—lack of Article III standing due to

 Spokeo and the retroactive application of the amended VRPA—and the uniformity

 of Time’s conduct toward the class made the case amenable to certification,

 especially given that this Court previously certified a similar class of Time

 subscribers in Coulter-Owens. See Coulter-Owens v. Time, Inc., 308 F.R.D. 524

 (E.D. Mich. 2015) (certifying class where Time engaged the exact same conduct

 alleged here).

       That said, there remained several ways in which the class could wind up

 empty-handed. Absent final approval of the Settlement, Time would surely move

 for summary judgment, asserting any one (or more) of its numerous defenses on

 the merits. (See dkt. 29, asserting 17 affirmative defenses.) For example, Time

 would likely continue to claim—as it did at summary judgement in Coulter-



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 Owens—that the VRPA (i) does not prohibit the disclosure of the magazine

 subscription information at issue, because Acxiom is its agent and the disclosures

 to Wiland were permissible under the VRPA’s “direct marketing exception,” and

 (ii) does not apply to Time at all because Time is not engaged in the business of

 selling magazines “at retail,” as is required under the scope of the Statute. (Scharg

 Decl. ¶ 11); see Coulter-Owens, 2016 WL 612690 (E.D. Mich. Feb. 16, 2016),

 aff’d, 695 F. App’x 117 (6th Cir. 2017). Time has also made clear that it would

 continue to challenge the constitutionality of the VRPA. (Scharg Decl. ¶ 11.)

       If the case moved past summary judgment, Plaintiff would still need to

 overcome significant hurdles in proving her case at trial. (Id. ¶ 12.) Moreover,

 Plaintiff recognizes that Time would appeal the merits of any adverse decision at

 summary judgement or trial. (Id.) And, due to the massive aggregated statutory

 damages in play, Time would be sure to argue—both at trial and on appeal—for a

 reduction of damages based on due process concerns. (Id.); see Parker v. Time

 Warner Entm’t Co., L.P., 331 F.3d 13, 22 (2d Cir. 2003) (“[T]he potential for a

 devastatingly large damages award, out of all reasonable proportion to the actual

 harm suffered by members of the plaintiff class, may raise due process issues.”).

       Against this backdrop of uncertainty, the benefits of the Settlement are

 unmistakable. In terms of monetary relief, the Settlement’s $7.4 million non-

 reversionary Settlement Fund will be used to pay Settlement Class Members pro



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 rata cash payments which, given the outstanding response rate to the Settlement

 (see Lucchesi Decl. ¶ 17), are estimated to be $50 per claimant. (Scharg Decl. ¶ 9.)

 These significant cash payments are in line with—and in some cases exceed—the

 payments class members have received in previous VRPA settlements approved in

 this District. See, e.g., Rodale, No. 14-cv-12688, dkt. 54 (securing a $4.5 million

 fund for a class of approximately 580,000 subscribers under VRPA with claiming

 class members receiving a pro rata payment of approximately $44); Kinder, No.

 13-cv-11284, dkt. 81 (securing a $7.5 million fund for a class of approximately

 980,000 subscribers under VRPA with claiming class members receiving a pro

 rata payment of approximately $50); Halaburda, No. 12-cv-12831, dkt. 68

 (securing a $775,000 fund for a class of 40,000 subscribers under VRPA with

 claiming class members receiving a pro rata payment of approximately $74);

 Moeller, No. 5:16-cv-11367, dkt. 42 (securing a $7.6 million fund for a class of

 415,000 subscribers under VRPA with claiming class members receiving an

 estimated $100).

       The reasonableness of the anticipated $50 pro rata payments becomes all the

 more apparent when looking at the relief afforded in the typical privacy settlement,

 where classes tend to be enormous, but individual class members receive only cy

 pres relief without any individual payments. See, e.g., Lane, 696 F.3d at 820-22

 (affirming $9.5 million settlement providing cy pres payment as sole monetary



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 relief in case where statutory damages of up to $10,000 per claim were available in

 class of millions), cert. denied 134 U.S. 8 (Nov. 4, 2013); In re Google Buzz

 Privacy Litig., 2011 WL 7460099, at *3-5 (approving $8.5 settlement providing cy

 pres payment as sole monetary relief in case where statutory damages of up to

 $10,000 per claim were available in a class of millions); In re Netflix Privacy

 Litig., 2013 WL 1120801, at *6-7 (N.D. Cal. Mar. 18, 2013) (approving $9 million

 settlement providing cy pres payment as sole monetary relief in case where

 statutory damages of $2,500 per claim were available to class of millions).

       And, often overshadowed, but just as important, the Settlement delivers

 meaningful prospective relief. For the next two years, Defendant will not disclose

 its Michigan customers’ subscriber information to third parties without prior

 express written consent. (Agreement ¶ 2.2(a).) This relief aligns perfectly with

 both the goals of the VRPA and those of this lawsuit. See, e.g., Halaburda, dkt. 69,

 at *19 (E.D. Mich. Jan. 6, 2015) (Steeh, J.) (finally approving a class action in

 similar VRPA litigation and finding that “the more important provisions of the

 settlement agreement are the provisions according equitable relief and a cessation

 of the disclosure altogether”).

       Where, as in this case, Plaintiff’s likelihood of success on the merits is

 tempered by uncertainty, the benefits of the Settlement—both prospective and

 monetary—are readily apparent. The first UAW factor thus supports final approval.



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       B.     In Protecting Reader Privacy and Conserving Judicial Resources,
              the Settlement Serves the Public Interest.

       A settlement that serves the public interest is likely to be found fair,

 reasonable, and adequate. In re Cardizem, 218 F.R.D. at 530. Settlements may

 serve the public interest by advancing a statute’s goals or by conserving judicial

 resources. See id.; In re Rio Hair Naturalizer Prods. Liab. Litig., 1996 WL

 780512, at *12 (E.D. Mich. Dec. 20, 1996) (“Voluntary resolution [of complex

 class action litigation] is in the public interest”); Hainey v. Parrott, 617 F. Supp. 2d

 668, 679 (S.D. Ohio 2007) (“Public policy generally favors settlement of class

 action lawsuits”). To serve the public interest, a settlement agreement that seeks to

 enforce a statute “must be consistent with the public objectives” that the legislature

 sought to attain. Williams, 720 F.2d at 923 (citations omitted).

       The instant Settlement furthers the objectives sought by the Michigan

 Legislature when it enacted the VRPA over 30 years ago. The statute recognizes

 that “one’s choice in videos, records, and books is nobody’s business but one’s

 own.” House Legis. Analysis Section, H.B. No. 5331. At its core, the VRPA

 protects Plaintiff’s “right to read or observe what [s]he pleases—the right to satisfy

 h[er] intellectual and emotional needs in the privacy of h[er] own home.” Stanley v.

 Georgia, 394 U.S. 557, 565 (1969). Thus, the Settlement serves the legislature’s

 goal of protecting an individual’s right to privacy in the written materials he or she




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 chooses to read because it prevents the disclosure of magazine reading preferences

 by Defendant without express consent. (See Agreement ¶ 2.2.)

       It also advances the public interest by conserving judicial resources,

 avoiding “notoriously difficult and unpredictable” class action litigation that can

 consume the court’s time and money. See In re Cardizem, 218 F.R.D. at 530; see

 also Leonhardt, 581 F. Supp. 2d at 839. To be sure, if the Settlement does not

 receive the Court’s final approval, the case’s complex and lengthy litigation would

 continue and would require significantly more motion practice and potential

 appeals. See Sims v. Pfizer, Inc., 2016 WL 772545, at *9 (E.D. Mich. Feb. 24,

 2016) (finally approving settlement and finding that “absent settlement, all class

 members would be subject to the uncertainties, hardship, and delay attendant to

 continued litigation.”). Here, there is no need to deviate from the “strong public

 interest in encouraging settlement of complex class action litigation.” See In re

 Packaged Ice Antitrust Litig., 2011 WL 6209188, at *15 (E.D. Mich. Dec. 13,

 2011) (citation omitted).

       Simply put, the Settlement serves the public interest because it furthers the

 underlying purpose of the VRPA—to protect the privacy of consumers’ personal

 reading habits—and conserves judicial resources. The second factor therefore

 weighs in favor of final approval.




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       C.     The Complexity, Expense, and Duration of Further Litigation
              Favor Final Approval.

       The third UAW factor requires the consideration of the complexity, expense,

 and duration of further litigation, and the comparison of those risks to the relief

 afforded under the settlement. See, e.g., In re Cardizem, 218 F.R.D. at 523; UAW,

 2006 WL 891151, at *18 (citation omitted). Final approval is favored in cases such

 as this one, where the parties are “likely [to] expend significant time and money

 litigating [a] case through class certification, dispositive motions, trial, and

 appeal,” further chipping away at the amount—and possibility—of class recovery.

 Stinson v. Delta Mgmt. Assocs., Inc., 302 F.R.D. 160, 164 (S.D. Ohio 2014); see In

 re Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985, 1013 (S.D. Ohio 2001).

       Undoubtedly, further litigation in this case would produce substantially more

 motion practice, including, as described above, an adversarial motion for class

 certification, motions for summary judgment, and inevitable appeals. This is

 especially true given that Class Counsel and Defendant have already been down

 that road having litigated the Coulter-Owens matter, which required complex and

 time-consuming briefing on class certification, for summary judgment, and appeal.

 See Coulter-Owens v. Time, Inc., 308 F.R.D. 524 (E.D. Mich. 2015) (granting class

 certification); Coulter-Owens v. Time, Inc., No. 12-cv-14390, 2016 WL 612690

 (E.D. Mich. Feb. 16, 2016) (ruling on the parties’ cross-motions for summary

 judgment); Coulter-Owens v. Time, Inc., Nos. 16-1321 & 16-1380, 695 F. App’x

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 117 (6th Cir. 2017) (affirming the district court’s summary judgment ruling). And,

 absent a summary judgment victory here, such a hard-fought case would ultimately

 lead to a trial, thus guaranteeing that the matter would not conclude any time in the

 near future. Ultimately, failure at any one of these points could strip the class of all

 recovery, making further litigation “a high stakes ‘zero sum’ undertaking.”

 Leonhardt, 581 F. Supp. 2d at 833.

       Absent final approval of the instant Settlement, the complexity, expense, and

 duration of further litigation will threaten a positive outcome for the class.

 Accordingly, the third UAW factor supports final approval.

       D.     The Stage of the Proceedings and Amount of Discovery
              Completed Weigh in Favor of Final Approval.

       The fourth UAW factor examines the stage of the proceedings and the

 amount of discovery that has taken place. In re Rio, 1996 WL 780512, at *13.

 Although “[t]here is no precise yardstick to measure the amount of litigation that

 the parties should conduct before settling,” the case should be developed enough to

 raise the court’s decision “above mere conjecture.” Id. (citation and internal

 quotations omitted). What is imperative is not the amount of formal discovery

 completed, but whether the parties and the court have sufficient information to

 make a reasoned decision with respect to settlement. See IUE-CWA v. Gen. Motors

 Corp., 238 F.R.D. 583, 598 (E.D. Mich. 2006) (“That the parties conducted their

 investigation through informal discovery . . . is not unusual or problematic, so long

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 as they and the court have adequate information in order to evaluate the parties’

 relative positions.”).

       The considerable amount of class and merits discovery completed in this

 case ensured that the Parties and the Court would have sufficient information to

 assess the strength of the Settlement. Indeed, before this case even began, Class

 Counsel had a thorough understanding of Time’s disclosure practices given the

 hundreds of thousands of documents they obtained and reviewed, and the high-

 ranking corporate representative they deposed in the Coulter-Owens matter.

 (Scharg Decl. ¶ 4.) With that knowledge, Perlin was able to propound targeted

 formal discovery requests, which resulted in Time producing thousands of

 responsive documents that Class Counsel diligently analyzed throughout the

 discovery process. (Id. ¶¶ 5–6.) Plaintiff also served subpoenas on eight third

 parties, including Acxiom Corporation and Wiland Direct, who provided more

 detailed information about the data transmissions at issue. (Id. ¶ 5.)

       As the case progressed toward settlement, Plaintiff obtained additional,

 albeit informal, discovery from Time regarding the size and composition of the

 class. (Id. ¶ 7.) With these final data points in hand, along with the knowledge

 acquired from litigating and settling other VRPA class actions in this District, the

 Parties and their respective counsel had all the information they needed to fully

 understand the pertinent issues of the case and reach an informed resolution.



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       In the end, counsel for both Parties are well equipped at this advanced stage

 of the litigation with the information needed to make a reasoned decision about

 settlement, and they have conveyed this information to the Court. As such, the

 fourth UAW factor weighs in favor of final approval.

       E.       The Opinion of Class Counsel Supports Final Approval.

       The fifth UAW factor assesses the opinion of experienced counsel regarding

 the settlement. UAW, 497 F.3d at 631; Williams, 720 F.2d at 922-23 (“The court

 should defer to the judgment of experienced counsel who has competently

 evaluated the strength of his proofs.”). Counsel’s judgment is entitled to significant

 weight. Leonhardt, 581 F. Supp. 2d at 837. The deference afforded to counsel’s

 opinion depends on both their skill and experience, Int’l Union v. Ford Motor Co.,

 2006 WL 1984363, at *25 (E.D. Mich. July 13, 2006), as well as “the amount of

 discovery completed and the character of the evidence uncovered.” Williams, 720

 F.2d at 923.

       Here, Class Counsel are well-respected attorneys with significant experience

 litigating consumer class actions of similar size, scope, and complexity. (Scharg

 Decl. ¶ 13); (Firm Resume of Edelson PC, a true and accurate copy of which is

 attached hereto as Exhibit 2-A). In addition to being at the forefront of VRPA

 litigation, see, e.g., Halaburda, No. 12-cv-12831, dkt. 68, Edelson PC is widely

 known for its work in the area of consumer privacy litigation. See, e.g., In re



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 Facebook Privacy Litig., No. 10-cv-02389, dkt. 69 (N.D. Cal. 2010) (recognizing

 Edelson PC as “pioneers in the electronic privacy class action field”); see also In

 re Netflix Privacy Litig., No. 11-cv-00379, dkt. 59 (N.D. Cal. Aug. 12, 2011)

 (noting Edelson PC’s “significant and particularly specialized expertise in

 electronic privacy litigation and class actions”); Harris v. comScore, No. 11-cv-

 05807, dkt. 369 (N.D. Ill. 2014) (granting final approval to one of the largest

 consumer class actions ever brought under federal electronic privacy laws, in

 which Edelson PC served as sole lead counsel); see also Coulter-Owens v. Time,

 Inc., 308 F.R.D. at 527 (Steeh, J.) (achieved adversarial certification in a related

 VRPA class action against Time, Inc. and appointed class counsel); Kinder, No.

 14-cv-11284, 2016 WL 454441 (E.D. Mich. Feb. 5, 2016) (appointing attorneys

 from Edelson PC as class counsel for settlement purposes in a similar VRPA class

 action); Rodale, Inc., No. 1:14-cv-12688-RHC-RSW, dkt. 44 (E.D. Mich. May 3,

 2016) (same); Moeller, No. 5:16-cv-11367-JEL-EAS, dkt. 34 (E.D. Mich. Jun. 8,

 2017) (same).

       Class Counsel believe that the Settlement is fair, reasonable, and adequate.

 (Scharg Decl. ¶ 14.) In light of their experience, and bolstered by the significant

 amount of discovery completed in this case, their opinion in support of final

 approval satisfies this UAW factor.




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       F.     The Reaction of Absent Class Members Favors Final Approval

       The sixth UAW factor weighs in favor of approval where the majority of

 class members have elected to remain in the settlement class without objecting. In

 re Cardizem, 218 F.R.D. at 527. A small number of opt-outs and objections “are to

 be expected in a class action” and do not impact the settlement’s fairness. Id.

 (citations omitted); see also Olden v. Gardner, 294 F. App’x 210, 217 (6th Cir.

 2008) (inferring that most “class members had no qualms” with settlement where

 29 out of 11,000 class members objected).

       In this case, more than 70,000 people have already filed claim forms, not a

 single Settlement Class Member has objected, and only 6 individuals have opted

 out (a mere 0.001% of the Settlement Class). (Lucchesi Decl. ¶¶ 15–17.) This

 exceptional participation rate and complete lack of opposition to the Settlement

 Class leaves no question that the class members view the Settlement favorably,

 which further underscores its fairness.

       Given this favorable reaction, the sixth UAW factor supports final approval.

       G.     The Settlement Is Free from Fraud and Collusion.

       The final UAW factor ensures that the settlement is the “product of arm’s-

 length negotiations as opposed to collusive bargaining.” Kogan v. AIMCO Fox

 Chase, L.P., 193 F.R.D. 496, 501-02 (E.D. Mich. 2000); see also Sheick v. Auto.

 Component Carrier, LLC, 2010 WL 3070130, at *13 (E.D. Mich. Aug. 2, 2010)



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 (explaining that arm’s-length negotiations conducted “by adversarial parties and

 experienced counsel” are indicative of a settlement’s fairness, reasonableness, and

 adequacy). The absence of fraud or collusion is presumed unless there is evidence

 to the contrary. IUE-CWA, 238 F.R.D. at 598. See UAW, 497 F.3d at 628; Dick v.

 Sprint Commc’ns Co. L.P., 297 F.R.D. at 295 (recognizing that courts “presume

 the absence of fraud or collusion in class action settlements” and finding that the

 exchange of data through litigation and the absence of allegations of fraud or

 collusion indicated that the settlement was the result of a good-faith negotiation)

 (quoting Leonhardt, 581 F.Supp. 2d at 838).

       The instant settlement is the product of informed negotiations conducted at

 arm’s-length by experienced counsel representing adversarial parties. (Scharg

 Decl. ¶ 15.) As detailed above, Class Counsel have built their practice upon

 complex consumer class action litigation, and have significant experience with the

 VRPA. (See Section V.E., supra.) Likewise, defense counsel—attorneys from

 sophisticated law firms—have a wealth of experience representing magazine

 publishers across the country, and have been successful in defeating several other

 VRPA class actions, including the related Coulter-Owens matter. (Scharg Decl. ¶

 15.) As reflected by the dockets in this case and Coulter-Owens, the Parties have

 vigorously pursued their own interests and positions throughout the litigation,

 further confirming the absence of fraud or collusion. See Leonhardt, 581 F. Supp.



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 2d at 838; (Scharg Decl. ¶ 16.) And when the Parties were finally ready to discuss

 the possibility of settlement, all of their negotiations occurred only at arm’s-length

 and neither party discussed the issue of attorneys’ fees until after the class relief

 had been negotiated and secured. (Scharg Decl. ¶ 16.)

       The arm’s-length nature of these negotiations is not altered by the fact that

 the Settlement permits the Court to award Plaintiff a modest $5,000 service award

 to compensate her for the approximately 25 hours of service she provided to ensure

 the class she represented obtained meaningful relief. (See dkt. 53.) As explained in

 detail in Perlin’s request for a service award, here, an incentive award of $5,000 is

 not a bounty or a windfall, and is in fact reasonable to compensate her for the

 significant amount of time she invested in obtaining a $7.4 million common fund

 settlement for the class. (Id. at 28–30, discussing In re Pampers Dry Max Litig.,

 724 F.3d 713 (6th Cir. 2013) and Plaintiff’s substantial service throughout this

 litigation.) Modest service awards—like the one sought here—are routinely

 approved in this District and do not create either an adequacy issue nor indicate

 collusion when, as here, the award provides compensation for time that is spent on

 a case that secures meaningful relief for the class. (See dkt. 53.)

       There should be no question that the Settlement is entirely free from fraud or

 collusion and the final UAW factor supports granting final approval.




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 VI.   CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court enter

 an order (i) granting final approval to the Settlement Agreement, and (ii) awarding

 such other and further relief as the Court deems reasonable and just.

                                        Respectfully submitted,

 Dated: October 1, 2018                 CAROLYN PERLIN, individually and on
                                        behalf of the settlement class,

                                        By: /s/ Ari J. Scharg
                                               One of Plaintiff’s attorneys

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                           CERTIFICATE OF SERVICE

        I, Ari J. Scharg, an attorney, hereby certify that on October 1, 2018, I served
 the above and foregoing Plaintiff’s Motion for and Brief in Support of Final
 Approval of Class Action Settlement on all counsel of record by filing it
 electronically with the Clerk of the Court using the CM/ECF filing system.

                                                /s/ Ari J. Scharg




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